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            EXHIBIT 2
    Redacted Version of
Document Sought to be Sealed
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8                                  UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
9
                                      SAN FRANCISCO DIVISION
10
                                                 MDL NO. 2843
11   IN RE: FACEBOOK, INC. CONSUMER
     PRIVACY USER PROFILE LITIGATION,               CASE NO. 3:18-MD-02843-VC-JSC
12

13
                                                    HON. VINCE CHHABRIA
     This document relates to:                      HON. JACQUELINE SCOTT CORLEY
14                                                  COURTROOM 4 – 17TH FLOOR
     ALL ACTIONS                                    SPECIAL MASTER, DANIEL GARRIE,
15                                                  ESQ.
16
                                                    ORDER REGARDING FACEBOOK’S
17
                                                    OBJECTIONS TO 30(B)(6) WRITTEN
                                                    QUESTIONS
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      ORDER REGARDING FACEBOOK’S OBJECTIONS TO 30(B)(6) WRITTEN QUESTIONS
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                                                      INTRODUCTION
1
             1. Pending before the Special Master are Facebook’s objections to Plaintiffs’ written questions
2

3    following the deposition of Facebook’s 30(b)(6) witness Simon Cross.

4                                                     BACKGROUND
5            2. Plaintiffs deposed Facebook’s designated 30(b)(6) witness Simon Cross over the course of
6
     five days between May 9, 2022 and June 21, 2022.1
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             3. On June 24, 2022, Special Master Garrie held a hearing to address outstanding issues
8
     pertaining to the Simon Cross 30(b)(6) deposition and topics on which Plaintiffs sought additional
9

10
     written or oral testimony. At the June 24, 2022 hearing, Special Master Garrie ordered the parties to

11   meet and confer regarding additional written questions to follow up on Simon Cross’s 30(b)(6)

12   deposition. Special Master Garrie noted that the additional questions were to be connected to lines of
13
     questioning raised in the 30(b)(6) deposition that Simon Cross was unable to answer. See June 24, 2022
14
     Hearing Transcript at 29:1-12, 30:3-7.
15
             4. On June 29, 2022, Plaintiffs provided Facebook with 143 additional written questions,
16
     inclusive of sub-parts, in connection with Simon Cross’s 30(b)(6) deposition.
17

18           5. On July 13, 2022, Facebook provided Plaintiffs with written responses to 57 of the 143

19   questions.

20           6. On July 15, 2022 Facebook submitted a Letter Brief in Response to Plaintiffs’ 143
21
     Additional 30(b)(6) Questions in which Facebook argued that it should not be required to respond to
22
     the rest of Plaintiffs’ questions and set forth objections to each of the unanswered questions. See
23
     Exhibit A (Facebook’s Letter Brief). Broadly, Facebook objected to the unanswered questions on the
24
     basis that the questions (a) were never asked during the deposition; (b) were sufficiently answered
25

26   during the deposition; (c) ask for an unduly burdensome amount of information and detail not

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28   1
      The deposition was conducted in five sessions which took place on May 9, 2022, May 12, 2022, June 6, 2022, June 20,
     2022, and June 21, 2022.
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     appropriate for a deposition; (d) ask for irrelevant information outside the scope of Plaintiffs’ case;
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2    and/or (e) ask for information outside the scope of the noticed topics for the deposition. Facebook set

3    out specific objections to each question in Exhibit C to Facebook’s letter brief.

4           7.      On July 15, 2022, Plaintiffs submitted their response to Facebook’s objections. Broadly,
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     Plaintiffs argued that (a) Plaintiffs were not required to ask the precise questions in the deposition in
6
     order to include such questions in the written questions; (b) Plaintiffs questions are not unduly
7
     burdensome, as Facebook is required to answer them pursuant to Rule 30(b)(6); (c) Facebook is
8
     required to provide corporate testimony and cannot refuse to answer questions based on objections that
9

10   the questions already were answered in a personal capacity; (d) the designee must answer questions

11   even if Facebook objects that the questions are outside the scope of the notice; and (e) Facebook’s
12   objections that information is better sought through another discovery device are improper because
13
     Facebook has not identified any basis permitting it to select the form in which Plaintiffs seek
14
     information. See Exhibit B (Plaintiffs’ Response to Facebook’s Objections). Plaintiffs also provided
15
     responses to Facebook’s specific objections to each question. Id. at 4-6.
16

17
                                                     FINDINGS

18          8. Special Master Garrie finds that Facebook is not entitled to avoid answering questions based

19   on Facebook’s objections that the precise questions were not asked during the deposition of Simon
20
     Cross. In allowing written questions, Special Master Garrie did not require the precise questions to have
21
     been asked during the deposition. See June 24, 2022 Hearing Transcript at 30:3-7 (Special Master Garrie
22
     stating that Plaintiffs “are going to give them [Facebook] a set of questions that relate to each of those
23
     topics.”). Each of Plaintiffs’ additional questions relate to the topics raised during the deposition of
24

25   Simon Cross. Therefore, Facebook is not entitled to avoid answering questions based on this objection.

26          9. Special Master Garrie finds that Facebook is not entitled to avoid answering questions based

27   on objections that the questions were asked and answered when the deponent answered the questions in
28
     a personal capacity and not a corporate capacity. Rule 30(b)(6) entitles Plaintiffs to Facebook’s
      ORDER REGARDING FACEBOOK’S OBJECTIONS TO 30(B)(6) WRITTEN QUESTIONS
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     corporate testimony on relevant topics. Avago Techs., Inc. v. IPtronics Inc., No. 5:10-CV-02863-EJD,
1

2    2015 WL 2395941, *1–2 (N.D. Cal. May 19, 2015). Simon Cross’s personal testimony, or personal

3    testimony from another witness, cannot satisfy Facebook’s duty. Therefore, Facebook is not entitled to

4    avoid answering questions on the basis that the questions were previously answered in a personal
5
     capacity, e.g. because Simon Cross did not personally create a document (Topics 6 & 7 questions 11–12,
6
     14–16). See Great Am. v. Vegas Construction, 251 F.R.D. 534, 539 (D. Nev. 2008) (“The duty to
7
     prepare a Rule 30(b)(6) designee goes beyond matters personally known to the witness or to matters in
8
     which the designated witness was personally involved.”); Louisiana Pac. Corp. v. Money Mkt. 1
9

10   Institutional Inv. Dealer, 285 F.R.D. 481, 486–87 (N.D. Cal. 2012) (“It is not expected that the designee

11   have personal knowledge as to all relevant facts; however, the designee must become educated and gain
12   the requested knowledge to the extent reasonably available.” (quotation omitted)).
13
            10.     Special Master Garrie finds that, except as stated below, Facebook is not entitled to
14
     avoid answering questions based on objections that the questions are outside the scope of the noticed
15
     topics. Objections that a question exceeds the scope of the 30(b)(6) notice “cannot be used to limit what
16

17
     is asked of the designated witness at a deposition.” UniRam Technology, Inc. v. Monolithic Sys. Tech,

18   Inc., No. C 04-1268, 2007 WL 915225, at *2 (N.D. Cal. Mar. 23, 2007); see also, e.g., Baird v.

19   Blackrock Inst. Trust Co., N.A., No. 17cv01892, 2019 WL 365845, at *1 (N.D. Cal. Jan. 30, 2019)
20
     (citing cases). Rather, “[t]he 30(b)(6) notice establishes the minimum about which the witness must be
21
     prepared to testify, not the maximum.” Id. These rules apply to depositions upon written questions
22
     pursuant to Rule 31. See F.R.C.P Rule 31(a) (“A deposition upon written questions may be taken of a
23
     public or private corporation or a partnership or association or governmental agency in accordance with
24

25   the provisions of Rule 30(b)(6).”).2 Therefore, except as noted below, Facebook is not entitled to avoid

26   answering questions based on objections that the questions are outside the scope of the noticed topics.

27

28   2
      If Facebook believes the questions are beyond the scope of the notice, it may state its objection with its
     written response, as it would during in-person 30(b)(6) testimony.
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     Special Master Garrie finds that Facebook does not have to provide written responses to Topics 2 and 8
1

2    questions 12, 12e, 15, and 15i because the questions refer to data in the                        which

3    date to February 16, 2020 at the earliest, which is after the relevant time period for this matter. Special

4    Master Garrie also finds that Facebook does not have to provide testimony with respect to Topics 6 and
5
     7 question 8 because the question pertains solely to ADI, which is the subject of a future 30(b)(6)
6
     deposition.
7
            11. Special Master Garrie finds that Facebook is not entitled to avoid answering questions based
8
     on objections that the information is better sought through another discovery device because Facebook
9

10   has not identified any legal basis permitting it to select the form in which Plaintiffs seek information in

11   Facebook’s objections or letter brief.
12          12. Special Master Garrie finds that Facebook is not entitled to avoid answering questions based
13
     on objections that answering such questions would be unduly burdensome. Special Master Garrie finds
14
     that each of the questions to which Facebook objects based on undue burden seeks relevant information
15
     that outweighs the burden of providing such information. See Beauperthuy v. 24 Hour Fitness USA, Inc.,
16

17
     No. 06-715 SC, 2009 WL 3809815, at *3 (N.D. Cal. Nov. 10, 2009) (Rule 30(b)(6) “imposes a

18   significant duty upon the organization to educate the deponent prior to the deposition.”); Molex v. City &

19   Cty. of San Francisco, No. C-4:11-1282-YGR KAW, 2012 WL 1965607, at *2 (N.D. Cal. May 31,
20
     2012) (“Even if the documents are voluminous and the review of those documents would be
21
     burdensome, the deponents are still required to review them in order to prepare themselves to be
22
     deposed.”).
23
            13. Special Master Garrie finds that Facebook is not required to answer Topics 6 and 7 questions
24

25   1 and 2 because the questions were sufficiently answered by Simon Cross as shown in Facebook’s cited

26   excerpts. See Exhibit A (Facebook’s Letter Brief) at 41, 45.

27          14. Special Master Garrie finds that Facebook is not entitled to avoid answering the following
28
     questions based on the objections raised, as described below.
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                                                            4
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           a. Topics 6 and 7 Question 7: Was Facebook aware that friends permissions were often
1
              called by apps in ways that exceed the use case for the app? Tr. 22:11–15.
2
                  i. Facebook Objection: This question has been asked and answered. Mr. Cross
3                    explained that, around 2013, “there was a number of discussions about how apps
                     were using the information they got via the API. One of those reasons would have
4                    been that there were some questions about how that information was being used.”
                     Tr. 82:7-24. Furthermore, this question is better suited for the upcoming ADI
5
                     deposition.
6
                  ii. Special Master Findings: Special Master Garrie finds that Facebook is not entitled
7                     to avoid answering this question because Simon Cross’s response did not
                      sufficiently answer the question and the question is not better suited to the ADI
8                     deposition as the question asks for contemporaneous knowledge and is not limited
                      to knowledge obtained from the ADI.
9

10         b. Topics 6 and 7 Question 8a: Apart from the ADI, what did Facebook do to investigate if
              and how apps with access to nonpublic friend data after 2014 exceeded the use case?
11
                  i. Facebook Objection: Asked and answered. Mr. Cross testified that “the
12                   partnerships team                           and -- and either
                                                 or determined that the -- the application
13
                                                ” Tr. 1167:22-1168:1. Mr. Cross further explained that
14                   “It was a process in 2018 and early 2019 to              that had been
                                                      and -- and
15                                    ” 1168:3-6.
16                ii. Special Master Findings: Special Master Garrie finds that Facebook is not entitled
17
                      to avoid answering this question because the question falls within Topic 7, which
                      calls for testimony on whitelisted apps or partners “and whether the access
18                    granted exceeded the Use Case.” Further, Cross did not answer the question.
                      Cross described a process to determine whether access should continue, not an
19                    investigation of how apps had exceeded the use case.
20
           c. Topics 6 and 7 Question 9: What are the risks from private APIs? Tr. 616:21–617:19
21
                  i. Facebook Objection: Asked and answered. Mr. Cross testified that “there’s a
22                   number of potential risks – from private APIs” and that he “can attempt to
                     enumerate some examples.” Tr. 616:24-617:6. Mr. Cross then stated that “there a
23                   number of -- as I said, a number of private APIs. One of the risks for an
                               is that it allowed developers to
24
                                 in order to allow a user to log in to an experience on a device. And an
25                   app that had that capability, there were a number of risks around making sure that
                     the                                                   and that the
26                                  is -- is                             . So that would be one --
                                                        I.” Tr. 617:7-19. He continues,“ So we talked
27                   about this in a -- in a previous testimony around some of the reasons for the
                     changes to the public API surface area. We'd had concerns from users that they
28
                     were not always aware how their information was being used by -- by
     ORDER REGARDING FACEBOOK’S OBJECTIONS TO 30(B)(6) WRITTEN QUESTIONS
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                     applications, and so in the case of private APIs, we would want to make sure that
1
                     information was being used appropriately.” Tr. 618:6-13. No further testimony
2                    was sought.

3                 ii. Special Master Findings: Special Master Garrie finds that Facebook is not entitled
                      to avoid answering this question because Simon Cross provided an incomplete
4                     answer that only “attempt[s] to enumerate some examples” from “a number of
                      potential risks.”
5

6          d. Topics 6 and 7 Question 13: Why didn’t Facebook review private APIs in an audit of
              why that app has that capability and whether or not it should continue to have that
7             capability? Tr. 623:17–11.

8                 i. Facebook Objection: Mr. Cross answered this question by explaining that “there
                     was an effort in 2013 to reduce the number of capability app pairs which existed,
9
                     and so I think this is -- it's not right to characterize this as ‘not done’ and ‘done.’
10                   There were – have been a number of efforts over a number of years to attempt to
                     manage the -- the set of private APIs.” 624:5-11.
11
                  ii. Special Master Findings: Special Master Garrie finds that Facebook is not entitled
12                    to avoid answering the question because Simon Cross’s responses do not address
                      reviewing private APIs in an audit but rather only refers to reducing and
13
                      managing private APIs.
14
           e. Topics 6 and 7 Question 16: What does the term “strategic partners” mean in the context
15            of determining which apps to continue to whitelist for private APIs? Tr. 631:7–632:3.
16                i. Facebook Objection: Plaintiffs have not identified a deposition question asked
17
                     that Mr. Cross could not answer. In the context of the use of the phrase “strategic
                     partners” in a slide deck prepared by an individual employee, Plaintiffs asked
18                   “[w]ho at Facebook could tell me whether there's a subset of partners called
                     ‘strategic partners’ at Facebook? In response, Mr. Cross explained that "I don't
19                   think there's a standard definition for ‘strategic partner[.]’” 632:4-6, 13-14.
                     Plaintiffs did not separately seek testimony regarding the meaning of the term
20
                     “strategic partners” in the context of determining which apps to whitelist for
21
                     private APIs.

22                ii. Special Master Findings: Special Master Garrie finds that Facebook is not entitled
                      to avoid answering this question. Simon Cross did not sufficiently answer the
23                    question and Plaintiffs were not required to have asked the precise question
                      during the deposition as set out in paragraph 8 above.
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     ORDER REGARDING FACEBOOK’S OBJECTIONS TO 30(B)(6) WRITTEN QUESTIONS
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                                                                 ORDER
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2             15.      No later than August 20th, 2022, Facebook is to provide written responses to all

3    questions for which Plaintiffs requested written responses, except for the following: Topics 2 and 8

4    questions 12, 12e, 15, and 15i; Topics 6 and 7 questions 1 and 2; and the 57 questions to which
5
     Facebook already provided written responses.
6
              16.      The parties are to meet and confer to schedule a follow up 30(b)(6) deposition to cover
7
     the questions on which Plaintiffs seek oral testimony, except for Topic 6 and 7 question 8. 3
8

9

10            IT IS SO ORDERED.
11
              August 8, 2022                                          ____________________________
12
                                                                      Daniel Garrie
13                                                                    Discovery Special Master

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       If the parties believe there are additional issues regarding 30(b)(6) depositions that require rulings they are to bring such
     issues before the Special Master in a timely manner as they arise.
         ORDER REGARDING FACEBOOK’S OBJECTIONS TO 30(B)(6) WRITTEN QUESTIONS
                                                                       7
